Case 2:19-mc-50986-MOB-EAS ECF No. 2 filed 07/10/19                    PageID.90      Page 1 of 1




                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION
- - - - - - - - - - - - -- - - - - - - - - - - - - - - - - - -
                                                               :
AVAYA INC.,
                                                               :
                          Plaintiff,                           : Case No. 2:19-mc-50986
                                                               :
         v.                                                    : Hon.
                                                               :
 RAYMOND BRADLEY PEARCE, et al., :
                                                                 Underlying Case:
                                                               : Case No. 3:19-cv-00565-SI
                          Defendants.                          : Northern District of California
and                                                            :
                                                               :
METROLINE, INC., nonparty recipient of :
subpoena issued by Plaintiff Avaya, Inc.                       :
- - - - - - - - - - - - -- - - - - - - - - - - - - - - - - - -
                                 CERTIFICATE OF SERVICE

         I hereby certify that on July 2, 2019, I served copies of Nonparty Metroline, Inc.'s Motion

to Quash Subpoena along with this Certificate of Service via USPS Certified Mail, return receipt

requested, upon the following:

Lyndsey C. Heaton
Sideman & Bancroft LLP
One Embarcadero Center, 22nd Floor
San Francisco, CA 94111-3711

                                              KERR, RUSSELL AND WEBER, PLC

                                              By: s/ Michael A. Sneyd
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Dated: July 10, 2019



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